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Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 1 of 20 PagelD #:1 REC

JFILED
UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF ILLINOIS FEB 1 6 2016

David A. Dewac
PRo- SE |

Plaintiff(s),

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

1:16-cv-02287
Judge Elaine E. Bucklo
Magistrate Judge Jeffrey Cole

VS

OS Kicec TS. Felowon OMFicee (MN.K- Devine

 

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Defendant(s).

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS
This form complaint is designed to help you, as a pro se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.
L, This is a claim for violation of plaintiffs civil rights as protected by the Constitution and

laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.

2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plaintiff's full name is LM) RU) id A . fe Wac

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 2 of 20 PagelD #:2

4, Defendant, $t 1. OS fice “Tom Felmaa (4 Yau) , is

(name, badge number if known)

bY an officer or official employed by Ch icagg Police De Dac | Mme at ;

( ent or agency of government)

 

or
C0 an individual not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet.

4. Defendant X: OF Licee (nike Devine [+E Hogg) Lis

(name, badge number if known)

| officer or official employed by Che San Dali Ce Dope Kmoat:

ent or agency of gov ernhent)
or

Can individual not employed by a governmental entity.

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(depattment or or agency of governnient)
- or

 

OC an individual not ennhiyesl by a x poverutiestial entity.

 

4. Defendant ie Caq) dD \, \ tC Dede a (ne st. _, is
(ghine, badge number ifimebn).
C an officer or official employed by 3

 

(department or agency of government)
or

C an individual not employed by a governmental entity.

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Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 3 of 20 PagelD #:3

ant, , 1s
(name, badge number if.

 

 
 
  

 

(department or agency of government)

or
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defendant and complete the information for each additional defendant on an extra sheet.

ig there are additional defendants, fill in the above information as to the first-named |

De

The municipality, township or county under whose authority defendant officer or official

acted is Q\.. CPAANKH . As to plaintiff's federal
. ro

constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

On or about t Chuacy, \ l do) at approximately ( Yo O a.m. Hf p.m.
(month, day, year) ;
plaintiff was present in the municipality (or unincorporated area) of ( h i( O50

, in the County of Coolh

State of Illinois, at \\ 347 ju M, lard Flue. , Chicagg Ul (0,55.

(identify location as precisely as possible)

 

 

when defendant violated plaintiff's civil rights as follows (Place X in each box that
applies):

yo arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintiff's civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiffs civil rights;

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Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 4 of 20 PagelD #:4

Fas \ed +, Road Ponti (N\; tandon A ght

7. Defendant officer or official acted pursuant to a custom or policy of defendant

municipality, county or township, which custom or policy is the following: (Leave blank

if no custom or policy is alleged): 0 ( Lend NAG ants \} i alate d C ty

 

 

 

8. Plaintiff was charged with one or more crimes, specifically:

A sSun\-t Simple. Tatras |5.0 Liq= 2A

 

 

 

 

% (Place an X in the box that applies. If none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

OO are still pending.
x were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.
QO) Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

 

1) Other:

 

 

‘Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 5 of 20 PagelD #:5

10. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)

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11. | Defendant acted knowingly, intentionally, willfully and maliciously.
12. Asaresult of defendant’s conduct, plaintiff was injured as follows:

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Celoyed Unnecessary Cos nCyseed ‘wt Lime ond
Dut of- Poche’ Ey fenses. |

13. Plaintiff asks that the case be tried by a jury. Yes LC No

 

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Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 6 of 20 PagelD #:6

10. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and

the actions of each defendant.) _ [Coot ioned Kr vm Page UA)

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BeKore and Never o Fier arrest. Con Sequeat hy
Dart WAS un law s ally Arr ested .

Supervisor Cy. Kong AD proved Fraud Nae Re poet. x

NOTE: PaiwtiSCs mother was a Wetness te all
Qucals . Darn t Ks mathe ec intially acted Neigh bees

Father to not Blow Saow Ver Becl Fence Aside W indiooss,
Dicer Fel men told Plain 4s mother by acl an dow
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Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 7 of 20 PagelD #:7

14. Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint.

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. MK ace X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.

Plaintiff's signature: Gann QO . Deum

Plaintiff's name (print clearly or type): Po J iA A . De V Nac

Plaintiff's mailing address: _\ | 344 Ss. MV \\ ard Aue

city Chicaas State [|] ZIP (oObSS

Plaintiffs telephone number: OX) 304 ~ | | S38

Plaintiff's email address (if you prefer to be contacted by email):

 

 

15. Plaintiff has previously filed a case in this district. LO Yes Yno

If yes, please list the cases below.

Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff. An additional signature page may be added.
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 8 of 20 PagelD #:8
David Dewar Civil Rights Case

DAVID DEWAR CIVIL RIGHTS CASE
CHRONOLOGY for COMPLAINT

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1. Pl. 75-yr. old Mother (Shirley Dewar) noticed neighbor’s Father (William
Hosty) blowing snow for property owner Son onto her side windows and
into her backyard over his son’s 5 ft. fence.

Incident: 02-17-2014

2. She asked Mr. Hosty to stop, after which he became angry and said, “I have
had it with you people.”

3. Pl.’s Mother asked PI., who was cleaning snow off his car on the street, to
talk with Mr. Hosty.

4, Pl. kindly requested Mr. Hosty to blow snow in front of his Son’s property
and not on PI.’s Mother’s side windows and into her backyard.

5. Pl. had in his right ear hands-free Bluetooth device. As PI. pulled cell phone
out of his pocket but did not yet make a call, Mr. Hosty said, “You’re
recording me!” Immediately Mr. Hosty said, “You threatened to kick my
ass.” Mr. Hosty then turned to daughter-in-law Jennifer who was standing
in the doorway and said, “Call the police. He threatened to kick my ass!”
Pl.’s Mother witnessed exchange of words as PI. did not respond, never

made the accusation, and never recorded the exchange of words.
6. Both Pl. and his Mother went inside their home.

7. Pl. next called 22 Chicago Police District (CPD) station and was directed
to call 911. Pl. requested police come out because neighbor’s Father
accused PI. of threatening him. (Transcript of 911 call available)

8. Within approximately 10 minutes CPD arrived. PI. had not had chance to
change into dry clothes after being outside and cleaning the snow.

9. Officers Tom Felmon (#4121) and Mike Devine (#4080) were outside with
Mr. Hosty and neighbor Scott Mckenna in front of the Hosty property. After

Page 1 of 3
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 9 of 20 PagelD #:9

David Dewar Civil Rights Case

officers knocked on their front door, Pl. went down to the bottom of the
front stairs to talk with them as P1.’s Mom remained on the top of the porch.

10. Officers Felmon and Devine asked Pl. what the issue was. Pl.’s Mom
explained what happened from the top of the front porch. Officer Felmon
suggested Pl. and his Mom go with him to talk with Mr. Hosty. PI. helped
his Mom down the icy stairs. Almost in tears she loudly explained the cause
for the 911 call.

11.Officer Felmon told Pl. Mom, “Calm down or I will go into your house. I
have the authority to do that and I will.” PI. said, “That is not necessary. I
will calm her down.”

12.Pl. then explained the reason for the 911 call to both Officers Felmon and
Devine. Officer Devine suggested Pl. talk to Mr. Hosty. Pl. told Mr. Hosty
it was unfortunate that police had to come out about the snow. Mr. Hosty
stated he is a senior citizen and his grand kids are always in fear of Pl. and
Pl. “threatened to kick his ass.” Mr. Hosty said Pl. is a “6 foot 4 inch
monster!”

13.Next, Officer Felmon said to Pl., “Apologize for what you said to Mr.
Hosty.” Pl. said, “It is very unfortunate that the police had to come out
about the snow and we could not resolve it ourselves. I am apologetic for
that.” Officer Felmon said, “That is not good enough. Apologize properly.”
Pl. repeated his first statement. Mr. Hosty then said, “You apologize for
what? Apologize for threatening to kick my ass.” Officer Felmon then
began twirling his handcuffs around as he kept looking at PI.’s Mother,
while he demanded, “Apologize.” Pl..s Mom. started screaming,
“Apologize! — Don’t arrest him.” Pl. responded, “I cannot apologize for
something I did not say or do.” Then, Officer Devine help Pl. while Officer
Felmon handcuffed PI. and said, “You are under arrest.” Pl. was charge with
simple assault.

14.Pl. was put in the rear of CPD minivan. Officer Devine walked out for
approximately 10 minutes to do the paperwork. Thereafter, Officers Felmon
and Devine transported Pl. to CPD District 22. During the ride there they
indicated they are from the North Side and they will never be seen out South
again.

Page 2 of 3
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 10 of 20 PagelD #:10

David Dewar Civil Rights Case

15.In CPD District 22 Pl. was processed and detained for approximately 1.5
hours in the holding cell during which time he was allowed to wear only his
wet t-shirt, pants without belt, socks and shoes without laces. PI. was finger-
printed and photographed. He was allowed to make a call to his Mother.
Thereafter, he remained in the lock-up until he was released after payment
toward a bond and his belongings returned.

16.Pl. noted the copy of CPD Arrest Report shows he was read Miranda rights.
Pl. states that neither Officers Felmon nor Devine read him his Miranda

rights.

17.Pl. also noted on T-Mobil phone records only his call to CPD District 22
was listed. His 911 call was not lists on the T-Mobil print-out. During
detention CPD District 22 held his cell phone. However, 911 records and
Pl.’s phone-shot show both calls were made by PI.

18.March 25, 2014, criminal court case v. David Dewar was dismissed S.O.L.
with 90 day probation for Pl. Since then, PI.’s case was expunged.

Page 3 of 3
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 11 of 20 PagelD #:11

David Dewar

Arachme at Ro A fsse Civil Rights Case

DAVID DEWAR - CIVIL RIGHTS CASE

2/17/14 - 6:26 PM

6:27 PM

7:00 PM

8:30 PM

8:36 PM

8:38 PM

8:40 PM

11:10 PM

11:17 PM

TIMELINE

David Dewar Call to CPD-22

David Dewar 911 Call

Arrested and transported to CPD-22 holding cell
Finger-printed

Photographed

Call to Mother

Lock-up

Bond posted/paid

Released

3/25/14 Criminal Court case resolution: S.O.L. w/90 days probation

Thereafter, case expunged from PI. record

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Case: 1:16-cv-02287 cnet #: 1 Filed: 02/16/16 Page 12 of 20 PageID #:12

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POLICE BOARD
CITY OF CHICAGO

From the Rules and Regulations of the Chicago Police Department
Adopted and Published by the Police Board
Article V. Rules of Conduct

In addition to the positive requirements of all the foregoing sections, the following rules
of conduct set forth expressly prohibited acts.

Prohibited acts include:

Rule 1: Violation of any law or ordinance.

Rule 2: Any action or conduct which impedes the Department's efforts to
achieve its policy and goals or brings discredit upon the
Department.

COMMENT: This Rule applies to both the professional and private
conduct of all members. It prohibits any and all conduct which is
contrary to the letter and spirit of Departmental policy or goals or
which would reflect adversely upon the Department or its
members. It includes not only all unlawful acts by members but
also all acts, which although not unlawful in themselves, would
degrade or bring disrespect upon the member or the Department,
including public and open association with persons of known bad or
criminal reputation in the community unless such association is in
the performance of police duties. It also includes any action
contrary to the stated policy, goals, rules, regulations, orders or
directives of the Department.

Rule 3: Any failure to promote the Department's efforts to implement its
policy or accomplish its goals.

COMMENT: This Rule prohibits any omission or failure to act by any
member of the Department, whether on or off duty, which act
would be required by the stated policy, goals, rules, regulations,
orders and directives of the Department. It applies to supervisory
and other members who, through carelessness, inefficiency or
design fail to implement all policy, goals, rules, regulations, orders

Rules of Conduct of the As of 1 April 2010
Chicago Police Department Page 1 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 13 of 20 PageID #:13

Rule 4:

Rule 5:

Rule 6:

Rule 7:

Rule 8:

Rule 9:

Rule 10:

Rules of Conduct of the
Chicago Police Department

and directives of the Department or who fail to report to the
Department any and all known violations of same, or who through
carelessness, inefficiency or design fail to become aware of any
such violation, when their assigned duty or supervisory
responsibility would require them to become so aware.

Any conduct or action taken to use the official position for personal
gain or influence.

Failure to perform any duty.

Disobedience of an order or directive, whether written or oral.

COMMENT: This Rule prohibits disobedience by a member of any
lawful written or oral order or directive of a superior officer or
another member of any rank who is relaying the order of a
superior.

Insubordination or disrespect toward a supervisory member on or
off duty.

Disrespect to or maltreatment of any person, while on or off duty.
Engaging in any unjustified verbal or physical altercation with any
person, while on or off duty.

COMMENT: Rules 8 and 9 prohibit the use of any excessive force
by any member. These rules prohibit all brutality, and physical or

verbal maltreatment of any citizen while on or off duty, including
any unjustified altercation of any kind.

Inattention to duty.

As of 1 April 2010
Page 2 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 14 of 20 PagelD #:14

Rule 11:

Rule 12:

Rule 13:

Rule 14:

Rule 15:

Rule 16:

Rule 17:

Rule 18:

Rule 19:

Rule 20:

Rules of Conduct of the
Chicago Police Department

Incompetency of inefficiency in the performance of duty.
COMMENT: This Rule includes all incompetent and inefficient action
on the part of any member and all failure to act when any policy,

goal, rule, regulation, order, directive or rank would require positive
action.

Failure to wear the uniform as prescribed.

Failure adequately to secure and care for Department property.

Making a false report, written or oral.

Intoxication on or off duty.

Entering any tavern or bar while on duty or in uniform, except in
the performance of a police duty.

Drinking alcoholic beverages while on duty or in uniform, or
transporting alcoholic beverages on or in Department property,
except in the performance of police duty.

A. Engaging directly or indirectly in the ownership, maintenance, or
operation of a tavern or retail liquor establishment.

B. Engaging directly or indirectly in the ownership or leasing of a
taxicab.

(Adopted by the Police Board 8 November 1979)

(Repealed 8 May 1975 by the Police Board)

Failure to submit immediately a written report that any member,
including self, is under investigation by any law enforcement
agency other than the Chicago Police Department.

As of 1 April 2010
Page 3 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 15 of 20 PageID #:15

Rule 21:

Rule 22:

Rule 23:

Rule 24:

Rule 25:

Rule 26:

Rule 27:

Rule 28:

Rule 29:

Rule 30:

Rule 31:

Rules of Conduct of the
Chicago Police Department

Failure to report promptly to the Department any information
concerning any crime or other unlawful action.

Failure to report to the Department any violation of Rules and
Regulations or any other improper conduct which is contrary to the
policy, orders or directives of the Department.

Failure to obey Department orders concerning other employment,
occupation, or profession.

Failure to follow medical roll procedures.

Failure to actually reside within the corporate boundaries of the
City of Chicago.

Failure to provide the Department with a current address and
telephone number.

Failure to report promptly any anticipated absence from duty.

Being absent from duty without proper authorization.

Failure to be prompt for duty assignment, including roll call and
court appearance.

Leaving duty assignment without being properly relieved or without
proper authorization.

Publicly criticizing the official actions of another Department
member, when the result of such criticism can reasonably be
foreseen to undermine the effectiveness of the official working
relationship of the member within his assigned unit. All such
criticism should be made and reported to the Department.

As of 1 April 2010
Page 4 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 16 of 20 PagelD #:16

Rule 32:

Rule 33:

Rule 34:

Rule 35:

Rule 36:

Rule 37:

Rules of Conduct of the
Chicago Police Department

COMMENT: The nature of the mission of the Police Department
requires a close and confidential relationship between members
and their superiors and between fellow members. Public criticism
of the official actions of other Department members could seriously
impair that relationship, which would be detrimental to the
Department’s ability to achieve its goals and implement its policies.
All public criticism of other members is not prohibited; however,
when the effect of the public criticism can reasonably be foreseen
to have a detrimental effect on the member’s effectiveness within
his unit, the member must refrain from such conduct for the good
of the Department and the public welfare and safety.

Engaging in any public statements, interviews, activity, deliberation
or discussion pertaining to the Police Department which reasonably
can be foreseen to impair the discipline, efficiency, public service,
or public confidence in the Department or its personnel by:

(a) false statements, or reckless, unsupported accusations.

(b) the use of defamatory language, abusive language,
invective or epithets.

Sitting in a public conveyance while in uniform or as a non-paying
passenger when paying passengers are standing.

Failure to keep vehicle in public view while assigned to general
patrol duty except when authorized by a supervisory member.

Concealing a Department vehicle for the sole purpose of
apprehending traffic violators.

Permitting any person not on official police business to ride in a
Department vehicle unless specifically authorized.

Failure of a member, whether on or off duty, to correctly identify
himself by giving his name, rank and star number when so
requested by other members of the Department or by a private
citizen.

As of 1 April 2010
Page 5 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 17 of 20 PageID #:17

Rule 38:

Rule 39:

Rule 40:

Rule 41:

Rule 42:

Rule 43:

Rule 44:

Rule 45:

Rule 46:

Rule 47:

Rules of Conduct of the
Chicago Police Department

Unlawful or unnecessary use or display of a weapon.

Failure to immediately make an oral report to the desk sergeant at
the District of occurrence and to follow such oral report with a
written report on the prescribed form, whenever a firearm is
discharged by a member.

Failure to inventory and process recovered property in conformance
with Department orders.

Disseminating, releasing, altering, defacing or removing any
Department record or information concerning police matters except
as provided by Department orders.

Participating in any partisan political campaign or activity.

Discussing bail with a person who is in custody except by those
specifically authorized to let to bond.

Giving an opinion as to fine or penalty.

Recommending any professional or commercial service.

Advising any person engaged in a professional or commercial
service that such professional or commercial services may be
needed.

Associating or fraternizing with any person known to have been
convicted of any felony or misdemeanor, either State or Federal,
excluding traffic and municipal ordinance violations.

As of 1 April 2010
Page 6 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 18 of 20 PageID #:18

Rule 48: Soliciting or accepting any gratuity, or soliciting or accepting a gift,
present, reward, or other thing of value for any service rendered as
a Department member, or as a condition for the rendering of such
service, or as a condition for not performing sworn duties.

Rule 49: Giving to or receiving from any other member any gift, present, or
gratuity excluding gifts accepted from relatives or close friends
upon appropriate occasions. No supervisory member will receive a
present from subordinate members.

Rule 50: Giving any gift, present, or gratuity to another member or a person
not in his family without the specific approval of the Police Board,
excluding donations not exceeding three dollars given in honor of
retirements, or to hospitalized or deceased members, provided a
member above the rank of captain has approved of the donations.
Party, dinner, and entertainment expenses will be paid for
individually by persons attending without prior collection through
Department channels.

Rule 51: A. Failure to testify or give evidence before any grand jury,
coroner’s inquest or court of law or before any governmental,
administrative, or investigative agency (city, state or federal) when
properly called upon to do so, and when there is no properly
asserted constitutional privilege, or when immunity from
prosecution has been granted.

B. Failure to cooperate when called to give evidence or statements
by any investigative branch or superior officer of the Chicago Police
Department or the Police Board when the evidence or statements
sought relate specifically, directly and narrowly to the performance
of his official duties. If the member properly asserts a
constitutional privilege, he will be required to cooperate if advised
that by law any evidence or statements given by him cannot be
used against him in a subsequent criminal prosecution.

(Effective 1 January 1975)

Rules of Conduct of the As of 1 April 2010
Chicago Police Department Page 7 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 19 of 20 PagelD #:19

Rule 52: Seeking or soliciting contributions of any kind from anyone, by any
means, for any purpose, under any circumstances, including
collections for charitable purposes by any member or his agent,
group of members or their agents, and including any sale or
solicitation by any member or his agent, group of members or their
agents, of advertising for any police journal, magazine or other
publication identified with the Chicago Police Department or any
association of its members, except as specifically authorized by
resolution of the Police Board.

The members shall be subject to disciplinary action for any violation
of this provision by his agent. The officers, directors, or trustees of
any association identified with members of the Chicago Police
Department shall be subject to disciplinary action for any violation
of this provision made on behalf of the association by any member
thereof or agents.

These provisions do not apply to the solicitation of police personnel
by police associations for memberships or dues.

Rule 53: Participating in, encouraging the participation of others in, or
otherwise supporting any strike, demonstration, slowdown, or other
such concerted action against the Department.

Rule 54: A. Joining or retaining membership in, or soliciting other members
to join any labor organization whose membership is not exclusively
limited to full time law enforcement officers. It is provided that this
Rule will not apply to civilian members nor to membership in any
labor organization in connection with, and relating solely to,
approved secondary employment of sworn officers.

B. Joining or retention of membership by supervisory personnel in
any labor organization, whose membership is composed of rank
and file members of the Department, and whose purpose is to
represent its members concerning wages, hours, and working
conditions. It is provided that this Rule will not apply to the joining
or retention of membership with rank and file members of the
Department in organizations whose primary purpose is social,
religious, ethnic or racial.

COMMENT: A. Labor-management disputes frequently develop into
situations requiring the presence and/or action of law enforcement

Rules of Conduct of the As of 1 April 2010
Chicago Police Department Page 8 of 9
Case: 1:16-cv-02287 Document #: 1 Filed: 02/16/16 Page 20 of 20 PagelD #:20

officers to ensure that the rights of both labor and management
are not violated by criminal acts. Law enforcement’s posture in
these disputes must be one of strict and absolute neutrality and
impartiality. The policy of absolute neutrality and impartiality is
seriously threatened and potentially undermined if the labor
organization or union involved in the dispute is in any way
associated with the representation of law enforcement officers of
the law enforcement profession. Membership in a labor union as
defined above creates a potential conflict of interest which conflict
is specifically prohibited by the Law Enforcement Code of Ethics to
which we all adhere and which could lead to acts or failures to act
contrary to law.

B. Supervisory personnel means any sworn member of the rank of
sergeant and above. Due to the growing activities of police labor
organizations in regard to wages, hours, and working conditions,
the membership of supervisory personnel who are charged with
supervising rank and file members in regard to wages, hours, and
working conditions would be present a conflict of interest.

(Effective 19 January 1976)

Rule 55: Holding cigarette, cigar, or pipe in mouth while in uniform and in
official contact with the public.

Rules of Conduct of the As of 1 April 2010
Chicago Police Department Page 9 of 9
